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EXHIBIT 12
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

eon e eee ee ee ee ee eee x
JOSEPH MANTHA on behalf of
themselves and others similarly
situated,
Plaintiff,
v. Case no. 1:19-cv-12235
QUOTEWIZARD.COM, LLC,
Defendant.
------ eee eee ee x

12:30 p.m.
July 28, 2020

VIDEOTAPED VIRTUAL DEPOSITION of LEAD
INTELLIGENCE INC., by and through MICHAEL FISHMAN,
a non-Party in the above entitled matter, pursuant
to Subpoena, before Stephen J. Moore, a Registered
Professional Reporter, Certified Realtime Reporter

and Notary Public of the State of New York.

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Page 2 Page 4
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 APPEARANCES: 2 THE VIDEOGRAPHER: We are on the
3 BRODERICK LAW PC 3 record, the time is approximately 12:33
4 Attorneys for Plaintiffs 4 p.m. on Tuesday July 28, 2020.
5 208 Ridge Street 5 Please note the microphones are
6 Winchester, MA 01890 6 sensitive and will pick up whispering and
7 7 private conversations and cell
8 BY: EDWARD A. BRODERICK, ESQ. 8 interference.
9 NELSON MULLINS RILEY & SCARBOROUGH 9 Please tur off all cell phones or
10 Attorneys for Defendant 10 place them away from your computer as they
11 One Post Office Square 11 will interfere with the audio.
12 Boston, MA 02109 12 Audio and video recording will
13 13 continue to take place unless all parties
14 BY: KEVIN POLANSKY, ESQ. 14 agree to go off the record.
15 KLEIN MOYNIHAN TURCO LLP 15 This is media unit 1 of the video
16 Attorneys for RevPoint Media, LLC. 16 recorded deposition of Michael Fishman
17 450 Seventh Avenue 17 taken by the counsel for the Plaintiff in
18 New York, NY 10123 18 the matter of Joseph Mantha on behalf of
19 19 themselves and all others simply situated
20 BY: EVAN KING, ESQ. 20 versus Quotewizard.com LLC.
21 21 The case is filed in the U.S.
22 22 District Court for the District of
23 23 Massachusetts, case number 1:19-CV-12235.
24 24 The deposition is being held via
25 25 teleconference.
Page 3 Page 5
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 EXAMINATION BY PAGE 2 Iam Ken Williamson for the firm
3 MR. BRODERICK 6 6 3 Veritext New England, I am the
4 MR. POLANSKY 55 8 4 videographer.
5 5 Our court reporter, is Stephen
6 EXHIBITS 6 Moore for the firm Veritext New York.
7 7 Please note I am not authorized to
8 EXBT 19 RevPoint subpoena response 43 15 8 administer an oath, I am not related to
9 combined 9 any party in this action, nor am I
10 EXBT 20 Letter 49 16 10 financially interested in the outcome.
11 EXBT 21 PDF Quotewizard_mantha 49 16 | 11 Counsel, please identify yourselves
12 EXBT 22 Subpoena response 51 13 12 for the record and please start with the
13 13 noticing attorney.
14 14 MR. BRODERICK: Good morning, Mr.
15 15 Fishman, I am Edward Broderick, I
16 16 represent the Plaintiff, Joseph Mantha.
17 17 MR. POLANSKY: Good afternoon Mr.
18 18 Fishman, I am Kevin Polansky and I
19 19 represent Quotewizard.
20 20 MR. KING: Evan King, counsel for
21 21 RevPoint and counsel for the witness.
22 22 MR. LANDAU: Please swear in our
23 23 witness.
24 24
25 25 MICHAEL FISHMAN, . calledas

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 a witness, having been first duly sworn by | 2 A So, we help facilitate leads
3 the Notary Public, was examined and 3 that are captured from entities and help
4 testified as follows: 4 distribute them to end service providers.
5 5 Q What is the relationship, if
6 EXAMINATION BY 6 any, between RevPoint and Quotewizard.com?
7 MR. BRODERICK: 7 A We were a provider of leads to
8 8 Quotewizard.
9 Q_ Mr. Fishman, can you state 9 Q You say in the past tense, are
10 your -- actually, first let me give you some 10 you no longer a provider of leads?
11 ground rules. 11 A We have not provided them with
12 Have you ever been deposed 12 leads in -- I'm not exactly sure, but in many
13 before, Mr. Fishman? 13 months.
14 A [have not. 14 Q Did you have a contract with
15 Q __ So, just to keep a clear record, 15 Quotewizard?
16 and particularly since we are over Zoom, am_ | 16 A Yes, we did.
17 going to ask that you let me finish my question | 17 Q And why did the relationship
18 entirely, and I will try to do the same and not =| 18 end?
19 jump into the middle of your answer because it | 19 MR. POLANSKY: Objection.
20 drives the -- it will drive Mr. Moore crazy 20 MR. KING: I object as to form,
21 trying to take down the record. 21 unless -- when you hear the word
22 Even though he is in that harbor 22 objection, unless [ instruct you not to
23 that we can see him sitting in, it gets 23 answer, you can still answer.
24 aggravating. 24 THE WITNESS: Okay, so I can
25 A Fair enough. 25 answer, or no?
Page 7 Page 9
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q_ And can you give me -- state 2 MR. KING: Yes, you can answer.
3 your full name for the record? 3 I'm sorry.
4 A My full name, Michael Alex 4 A Lactually don't know exactly
5 Fishman. 5 why the relationship ended.
6 Q__ And how long have you worked for | 6 Q Was it because of this lawsuit,
7 RevPoint? 7 do you know?
8 A Approximately eight years. 8 MR. KING: Objection as to form.
9 Q What's your job title there? 9 MR. POLANSKY: Objection.
10 A CEO. 10 A That is not my recollection.
1] Q__ What did you do before you 11 Q _Isit fair to say that RevPoint,
12 started at RevPoint? 12 when you were working with Quotewizard you
13 A __ I've been in digital marketing 13 would provide them with potential leads for
14 ultimately my entire career. 14 telemarketing purposes?
15 Q_ And did you found RevPoint, are 15 A I don't know what the leads --
16 you the owner as well? 16 what the purpose of the leads were for
17 A Tam. 17 Quotewizard.
18 Q Do you have partners in the 18 So I don't know that they were
19 business? 19 used for telemarketing purposes.
20 A Not active. 20 Q Okay.
21 Q_ What does RevPoint do? 21 But you just sold them leads.
22 A RevPoint Media is a software and 22 Does RevPoint do anything to
23 lead acquisition and distribution marketplace. | 23 ensure that leads that it's providing -- did
24 Q In layman's terms for the 24 you do anything to ensure that leads you were
25 non-digital marketer, what does that mean? 25 providing to Quotewizard had -- that the people

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 whose information was being sold had consented 2 with this case.
3 to receive calls or texts under the TCPA? 3 MR. BRODERICK: Well, I think
4 A Our technology verifies that 4 it's within the topic.
5 certain criteria is met from the sources, that 5 Unless you are going to instruct
6 there is a consent text that is provided along 6 not to answer | will let the question
7 with the lead, and we also in certain 7 stand.
8 circumstances will verify that a -- that a lead 8 MR. POLANSKY: I will object.
9 ID is passed with or a trusted form certificate 9 MR. KING: I will object as well,
10 is passed with the lead. 10 but I won't instruct.
11 Q When you say a lead ID, is that 11 You can answer.
12 a Jornaya lead ID? 12 A I don't even have that in front
13 A Yes, correct, a Jornaya lead ID. 13 of me; so I don't know.
14 Q_ And trusted form is a different? 14 Q Do you know what's generally the
15 A Isa different service. 15 cost? I mean you are not getting $100 per
16 Q___I'mjust going to show you, do 16 lead, I take it?
17 you have your Exhibit Share set up? 17 A lam not getting $100 per lead.
18 A Ido. 18 1 would say it's drastically
19 Q This is one of the nice things 19 lower than that, but I don't know because the
20 of working with somebody who is in technology, 20 pricing per lead is dynamic.
21 it's a lot easier. 21 Q Is that set through an API
22 Q_ Are you designated to testify 22 system?
23 today on behalf of RevPoint Media LLC? 23 A Yes; through what's called a
24 A Tam. 24 ping/post.
25 Q_ And are you the person most 25 Q_ What are the factors on which
Page 11 Page 13
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 knowledgeable about the lead that was sold to | 2 your pricing depends?
3 Quotewizard? 3 A I'mnot sure I understand the
4 A Yes. 4 question.
5 Q How much does RevPoint get paid 5 Q Well, you say the pricing is
6 for a -- how much did you get paid for the lead | 6 dynamic. I assume that there is -- what is the
7 related to Joseph Mantha? 7 dynamic in the pricing, I guess is what I'm
8 MR. POLANSKY: Objection. Before) 8 asking?
9 you answer, | mean is that part of the 9 A Well, that price is determined
10 notices? The notice that was 10 by Quotewizard, I don't have any understanding
11 identified? 11 of how they are determining pricing.
12 I don't see it on the topics of 12 Q Do you have a set minimum that
13 examination. 13 you are willing to sell a lead for?
14 MR. KING: Yes, I object as well. 14 A Sometimes; it depends.
15 MR. BRODERICK: I will just take | 15 1 don't know if there was one
16 a look here, I've got it open. 16 set in this case, I have no -- that's not a
17 Any purchase or sale of Mr. 17 standard practice.
18 Mantha's purported consent lead by 18 Q Can you give me a ballpark of
19 RevPoint Media LLC. 19 what the -- when you ping and post, are you
20 MR. POLANSKY: Sure, and I 20 pinging and posting only to one potential
21 understand that to mean whether it was 21 buyer, or is that posted to many and anyone can
22 purchased or sold by RevPoint, but not 22 bid on it, on the API?
23 for value. 23 A The ping is sent to multiple
24 I mean I don't see what the price 24 buyers, that does not include any PII
25 of purchasing a lead has anything to do 25 information.

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 The post is only sent to one 2 A _ Yes, that's fair to say.
3 buyer. 3 Q_ And do you have any
4 Q And that is the buyer who 4 understanding of whether Plural was directly
5 responds with an offer to buy the lead? 5 involved with that website?
6 A No. The offer to buy -- there 6 A \have no understanding of that.
7 is a bid ona ping, so information is sent, 7 Q Okay.
8 there is a bid. 8 Who did you -- with whom, if
9 If the bid is accepted, then the 9 anyone, did you work at Plural for employees?
10 lead is sent in the post and that is the 10 A The only contact that we have
11 agreement to purchase that lead. 11 over there is George Rios.
12 And possibly, by the way, 12 Q Do you know how to spell that
13 because the post then could be rejected as 13 last name?
14 well. 14 A Idon't.
15 Q_ Right. 15 1 would be speculating on the
16 And just give me a ballpark, are 16 spelling of his name.
17 we talking 10 cents a lead or $1 a lead forthe | 17 Q Can you say it again?
18 Mantha lead? 18 A _ Rios, if you want just R-1-0-s;
19 MR. POLANSKY: Objection. 19 maybe.
20 MR. KING: Objection, I think 20 Q Okay, sure. | couldn't quite
21 that's kind of explained as best he 21 hear you.
22 could, but you can answer. 22 What is your understanding of
23 A I don't know, I wouldn't want to 23 what Plural provided to RevPoint?
24 speculate on the price. 24 MR. POLANSKY: Objection; when?
25 Q_I'mnot going to hold you to a 25 Q_ What did they provide -- when
Page 15 Page 17
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 price, I'm just trying to get a universe. 2 they provided you with a lead, what would you
3 A I mean it could be -- I would 3 get?
4 say that 10 cents is probably not realistic and 4 MR. POLANSKY: Are you asking in
5 I would say that $30 is not realistic. 5 general, or in this case?
6 But that's a very wide range of 6 I can't hear you, Ted.
7 potential for pricing. 7 Q_ Sorry.
8 Q_ Got it. 8 For the Mantha lead, what was
9 What is the relationship between 9 provided to RevPoint by Plural, if anything?
10 RevPoint and Plural Marketing Solutions, if 10 A Do you mean at the point of the
11 any? 11 initial lead, or in general?
12 A Plural was a lead provider into 12 Q At the point of the initial
13 the RevPoint lead marketplace. 13 lead, then we will get to other points.
14 Q How long did RevPoint work with 14 A I mean this was a ping/post
15 Plural? 15 relationship, so they would have pinged the
16 A [think somewhere around ten 16 RevPoint marketplace with information without
17 months. 17 any PII and then they would have received a bid
18 Q And when did you stop working 18 and then they would have posted that lead into
19 with Plural? 19 RevPoint's marketplace.
20 A __ Soon after we learned of this 20 Q = Okay. When you say PII, that's
21 complaint. 21 personal identifying information?
22 Q__ So, is it fair to say that 22 A Correct.
23 RevPoint was not involved -- had no connection} 23 Q So would you get a -- when your
24 to the website that -- on which this lead for 24 system was pinged by Plural with the Mantha
25 Mr. Mantha was purportedly created? 25 lead, what data does your API system see?

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 A I don't know specifically, 2 Mantha from Plural, then what happens?
3 because every API integration might bea little | 3 A Well, the marketplace for Jangl
4 different. 4 only purchases a lead if it has an opportunity
5 So if we are talking 5 to distribute it, to sell it.
6 specifically auto insurance, it might be make 6 So, that transaction takes in
7 and model of a vehicle, it might be azip code. | 7 Jangl's marketplace, RevPoint Media's
8 These are -- I can only 8 marketplace, only takes upwards of 30 seconds.
9 speculate on this particular API integrationon | 9 So that lead would have been
10 what's being provided. 10 acquired and then sent to Quotewizard.
11 But those are some examples of, 11 Qs You said Jang] is that
12 you know, data that would be provided within a | 12 J-a-n-g-l?
13 ping. 13 A Yes.
14 Q Got it, got it. 14 Q What is that?
15 And what is the PII that is not 15 A That is the name of our
16 provided when you get this? 16 technology that allows ping/post.
17 A No, no. 17 Q Is that technology, or is that
18 Q__ [was actually asking what is 18 software?
19 the -- what is PII in that context? 19 A Yes.
20 A So, PII would include name, 20 Q_ And did you develop that
21 address, e-mail, phone number. 21 software yourself?
22 Q Is the IP address from which the 22 A Yes.
23 lead was created PII? 23 Well, I did not personally
24 A I don't know that we define that 24 develop that software myself, but RevPoint
25 as PII. 25 Media did.
Page 19 Page 21
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 I am not sure if that is 2 Q __Do you have computer programmers
3 provided on the ping or the post. 3 that work for you?
4 I don't know that I've ever 4 A Yes.
5 classified that as PII in conversation. 5 Q Do you know who Adam Brown is?
6 But that's -- but I would have 6 A Ido not.
7 to look up whether we are receiving IP on the 7 Q Have you ever dealt with a
8 ping and the post. 8 company called Request Path Media?
9 Q__ Also on the ping or the post is 9 A Not to my knowledge, no.
10 the URL of the website on which the lead was_ | 10 Q How about Blue Flame marketing?
11 purportedly collected, is that provided on the 11 A Notto my knowledge, no.
12 ping? 12 Q Anything that sounds like that?
13 A That depends on the integration. 13 A I mean there are a lot of
14 I don't know what the case was 14 companies that have the word blue in them, I
15 specific for this. Website URLs are not 15 don't know Blue Sky, I can't -- | mean anything
16 standardized, and masking of them is. 16 with blue in it might ring a bell.
17 So, I -- in order to try and 17 It's certainly something we can
18 avoid circumvention. 18 look up, but I don't have any knowledge of
19 So I'm not sure what the 19 those companies.
20 specifics of this lead were on whether -- 20 Q Okay.
21 sometimes it's not provided at all and 21 How about Justin Cohen?
22 sometimes it is. 22 A Doesn't ring a bell.
23 Q Okay. 23 Q__ Does RevPoint buy or are you
24 And then after your marketplace 24 aware of buying leads that were generated on a
25 purchases the lead, purchased the lead from 25 website called SnappyAutoInsurance.com?

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 A Not until after this complaint. 2 are you familiar with a company named Seal Dog
3 Q But before this complaint that 3 Media?
4 was not a website you were familiar with? 4 A lam not.
5 A No. 5 Q Have you had any conversations
6 Q___ How about unitedquotes.com? 6 with anyone at Plural about this lawsuit?
7 A Yes, I was familiar with that 7 A No, other than notifying them of
8 site. 8 the Complaint after it occurred.
9 Q__ And do you know what company 9 Q Who provided that Complaint to
10 owns that domain, unitedquotes.com? 10 you?
11 A Idon't. 11 A Someone at Quotewizard.
12 Q How were you familiar with 12 Q Who was that?
13 unitedquotes.com? 13 A _ I think Matthew, I am trying to
14 A __ The site was provided for us to 14 remember his last name, Weiss.
15 vet -- at some point it was provided tous asa_ | 15 Qs Matthew Weeks?
16 lead generation website. 16 A Yes; correct.
17 That's about all the knowledge I 17 Q Did he provide that to you in an
18 have of that particular website. 18 e-mail?
19 I don't remember much more than 19 A Most likely, yes.
20 that, other than I remember that website being | 20 Q Did RevPoint send any
21 provided as something for us to look at as a 21 information back via e-mail?
22 lead generation website. 22 A Yes.
23 Q Do you know when that was that 23 Q What did you send to Mr. Weeks?
24 you vetted the unitedquotes.com website? 24 A We sent them what was provided
25 A I couldn't recall. More than a 25 to us from Plural.
Page 23 Page 25
1 MICHAEL FISHMAN MICHAEL FISHMAN
2 year ago, or possibly within a year. Q And what was that that was
3 A long time ago, it hasn't -- provided to Plural?
4 not recently. A I don't have that information in
5 Q Was it in connection with this front of me, but from my recollection it was a
6 lawsuit? URL, time stamp, IP address, and possibly
7 A No. technique of acquisition of the lead and
8 Q What did you do or what do you consent verification.
9 do to vet a website, as you said? Q What do you mean by technique of
10 A In most cases we actually acquisition of the lead?
11 provide that to the lead purchaser to allow A Whether the lead was generated

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them to take a look at that website.

Q_ Right, but do you just get a
link to the website, or is there something more
to vet?

A No, it's mainly just a link,

Q Do you check TCPA disclosure
language on those websites?

A We will -- it's not standard
practice for us to do that, but we will take a
look.

But no, mainly we would be, if

that was requested, then we would provide that
link.

Q_ Okay, is the company called --

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wood Ain BPWhYe Toma Au fw eS

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through e-mail or search or display, but I
don't remember specifically whether that was
provided.

Q Ifyou had that e-mail that you
transmitted that information with, would that
refresh your memory as to what it was?

A If had that e-mail that we
sent to Quotewizard?

Q Yes.

A Yes, sure.

MR. KING: I think he's about to
show it.
THE WITNESS: Yeah, I got it.

Q Actually Iam going to show

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 you -- first go to the marked exhibits folder. 2 him the e-mail to refresh his
3 A Okay. 3 recollection?
4 Q I will ask you to look at what's 4 MR. BRODERICK: I don't think I
5 already been marked as Exhibit 2? 5 have the e-mail.
6 A Wait, hold on, that folder just 6 A Idon't remember what was in the
7 now says folder not found. 7 e-mail that I sent to him, it's certainly
8 MR. KING: That happened tome as | 8 possible.
9 well when I just -- now it's back. 9 Q Iam going to show you your
10 Q You might have to refresh. 10 subpoena response, and maybe I have just missed
11 A Okay. Okay. 11 it.
12 MR. KING: Sorry, guys, mine is 12 Now I have put a document it's
13 loading. 13 supposed to say Plural response to Mantha
14 MR. BRODERICK: No worries. 14 subpoena; can you open that?
15 MR. POLANSKY: What folder are we 15 A Plural --
16 looking at? Mine is just gone now. 16 MR. KING: Plural, not RevPoint?
17 MR. KING: All I see is 17 MR. BRODERICK: No, grabbed the
18 deposition of George Rios. 18 wrong one again.
19 THE WITNESS: Click on that 19 Q Okay, the RevPoint subpoena
20 again. 20 response. Do you see that?
21 MR. KING: Then marked exhibits. 21 A Hold on, RevPoint subpoena
22 MR. BRODERICK: Mr. Fishman is | 22 response combined, is that what I am looking
23 going to talk us through this. 23 at?
24 THE WITNESS: Yeah, if you hit 24 Q. Yes.
25 refresh then you click on the deposition 25 A Okay.
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 folder again, it will launch the folder 2 Q ___Do you recognize that document?
3 again and then the file should be inside 3 A Yes.
4 it. 4 Q_ And were you served with a
5 MR. KING: I am looking for what, 5 subpoena to produce the records requested
6 Ted? 6 there?
7 MR. BRODERICK: Exhibit 2. 7 A Yes, they were.
8 THE WITNESS: That I don't see. 8 QI will ask you to scroll down to
9 MR. KING: I see four things 9 the very last page.
10 under deposition of George Rios. 10 A Okay.
11 MR. BRODERICK: | am in the wrong 11 Q Is the data that was provided
12 folder myself. 12 there, where did you collect that from?
13 Look at Exhibit 17, sorry. 13 A _ So, the data here was collected
14 A Okay. 14 from our database.
15 Q Have you seen this document 15 Q Did you have to run a query to
16 before? 16 get that?
17 A I don't recall seeing this 17 A Yes.
18 document before, no, but it's possible. 18 Q And what kind of database is
19 Q Okay, I can represent to you 19 that?
20 that this was a document produced in discovery 20 Is it SQL?
21 by Quotewizard and in your e-mail to Matthew 21 A I believe so, yes.
22 Weeks of Quotewizard, is that 22 But I'm not 100 percent sure of
23 SnappyAutoInsurance.com website, is thata URL | 23 that, so I would have to get back to you. I
24 that you provided to him? 24 don't know for sure that it is SQL.
25 MR. KING: Are you going to show 25 Q_ Okay, and did you do the search

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2 yourself, or somebody in your team? 2 Q_ Right, but you don't indemnify
3 A Someone in my organization did. 3 Quotewizard for any claims that sending a text
4 Q _ Isit fair to say that all of 4 message based on that lead would be a
5 the data on this sheet was provided to you by 5 violation?
6 Plural Marketing Solutions? 6 MR. POLANSKY: Objection.
7 A Yes, 7 MR. KING: Yes, I will object.
8 Q So you have no independent way 8 That's the kind of thing that he and I
9 to confirm whether any of this is accurate 9 talked about.
10 information, correct? 10 I mean we can talk about generally
11 A No. 11 or if he's familiar with the relationship
12 Q And you have no way to know 12 that they had with Quotewizard, but in
13 whether Joe Mantha visited any website and 13 terms of this specific lead?
14 input this information, correct? 14 MR. POLANSKY: Yeah, I don't
15 A No way to confirm. 15 see -- there is nothing in the topics of
16 Q And when you provide a lead -- 16 examination that identify the contract
17 when you provided this lead to Quotewizard, 17 between the parties and the
18 does RevPoint make any guarantee to Quotewizard | 18 indemnification agreement between them.
19 that the person listed on the lead has 19 So Iam going to object.
20 consented to receive text messages? 20 MR. BRODERICK: It all goes to
21 MR. POLANSKY: Objection. 21 the purchase or sale.
22 Q Sorry, could you hear me? 22 MR. POLANSKY: The indemnity goes
23 THE WITNESS: I'm sorry. So, 23 to the purchase and sale? Where?
24 Evan, I heard an objection. 24 How do you get there?
25 MR. KING: Sorry, yes, yes, you 25 MR. BRODERICK: It's part of the
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 can answer. 2 sale.
3 A I'msorry, can you just repeat 3 Again, if you want to instruct him
4 the question? 4 not to answer, that's okay, but it's not a
5 Q Sure. When you provided the Joe 5 huge point.
6 Mantha lead with the data that we are looking 6 But | am trying to get at what he
7 at here to Quotewizard, does RevPoint make any 7 represents to -- in selling them this
8 guarantee that the person, that Mr. Mantha had | 8 data, if it's a promise or a guarantee
9 consented to receive -- provided TCPA consent | 9 that's enforceable that you can call based
10 to receive calls or text messages? 10 on this.
11 MR. POLANSKY: Objection. 11 MR. POLANSKY: Sure, I will just
12 A Yeah, I don't know how we would 12 state my objection for the record, which
13 make an individual guarantee, other than 13 is the agreement between the parties
14 supplying the data to Quotewizard that is 14 speaks for itself.
15 supplied to RevPoint Media. 15 You can answer, if your attorney
16 Q_ Right, but in essence you are 16 allows you to.
17 just selling them data, you are not making a 17 MR. KING: You can answer to the
18 guarantee that this person has given TCPA 18 extent you remember about this case
19 compliance consent in order to receive text 19 specifically, and it doesn't touch on
20 messages? 20 any discussions that you and I have had
21 MR. POLANSKY: Objection. 21 or that you have had with counsel.
22 A Well, it's our understanding 22 A I don't know whether or not
23 that this lead had TCPA consent and text with | 23 there is any guarantee on this lead.
24 it, so that -- the way we look at it, is that 24 I would have to get back to you
25 would be the guarantee. 25 on that.

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q__ Did Plural provide you with a 2 A Okay.
3 guarantee that the lead came with valid TCPA 3 Q = On that document, what
4 consent? 4 information did RevPoint have at the point at
5 A I don't know how to answer that. 5 which it sold the lead to Quotewizard?
6 Within the lead there is nothing 6 A | would have to do a comparison.
7 other than the data that is created -- supplied 7 I don't know, it would be my understanding that
8 that it is -- that there is consent there, I'm 8 we would have received everything other than
9 not sure about guaranteeing each lead. 9 potentially the URL.
10 Q_ When you received -- when you -- 10 Q Would your understanding be that
11 did you have any phone conversations with 11 you would have to go to Plural to get that?
12 Matthew Weeks about Mr. Mantha's complaint?) 12 A Yes.
13 A Not to my knowledge. 13 Q__Do you know anything about that
14 Q _ It was just e-mails? 14 lead date of 8/5/19?
15 A Yes. 15 A Idon't.
16 Q_ Any text messages? 16 Q There is an IP address there, I
17 A No, we don't have -- I never 17 will ask you to write that down, it's 96.2 --
18 texted with him. 18 A You are asking me to write that
19 Q_ I'msorry, | apologize if | 19 down?
20 already asked, about when was that, if you 20 Q_ Yes, please. Sorry.
21 remember? 21 A _ Sorry, I didn't have anything to
22 MR. POLANSKY: About when was | 22 write with in front of me.
23 what? Objection. 23 Okay, so this 96.242.132.28.
24 Q The e-mail correspondence with 24 A 132.28, okay.
25 Mr. Weeks. 25 Q That's also associated with a
Page 35 Page 37
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 MR. POLANSKY: Thank you. 2 Jornaya lead ID which starts 8D3 and ends in
3 A I would have to get back to 3 BFF?
4 you -- I would say September, October of what 4 A Okay.
5 was that, last year. 5 Q I just want to compare that to
6 Q And then when you got that 6 another document which is Exhibit 18, and I
7 e-mail, did you then contact anyone at Plural? 7 will represent to you this is a subpoena
8 A Yes. 8 response from Jornaya about that?
9 Q And how did you do that? 9 A Hold on, Exhibit 18, okay.
10 A I think that was done from 10 Q = You've got it?
11 someone at RevPoint Media who had -- who then, 11 A Yes.
12 I'm not sure whether it was over e-mail or 12 Q_ And that's -- this is a subpoena
13 Skype, but what at that point was their method 13 response from Jornaya.
14 of communication with Plural. 14 How long -- well, does RevPoint
15 Q Okay, you don't know who the 15 have a contract with or an account with
16 person was at Plural who your employee 16 Jornaya?
17 communicated with, do you? 17 A Not to my knowledge. I don't
18 A __ I'm pretty sure it was George 18 know that an account was never created with
19 Rios. 19 Jornaya, but we do not have an account -- a
20 Q George Rios, okay, good. 20 contract or relationship like that.
21 Did Plural say anything about 21 Q ___ Does RevPoint generate its own
22 the original source of this Mantha lead, in 22 leads that is for sale?
23 response to RevPoint's communication to Plural? 23 MR. KING: Ted?
24 A Not to my knowledge, no. 24 MR. BRODERICK: Yes.
25 Q Can you go back to Exhibit 17? 25 MR. KING: Sorry, can you repeat

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 that, you kind of garbled up. I 2 Q What's your understanding of how
3 couldn't really hear that. 3 a Jornaya lead ID works?
4 Q___ Does RevPoint generate its own 4 A My opinion, understanding of how
5 leads for sale to customers? 5 Jornaya lead IDs work?
6 A We do not. 6 Q Yes.
7 Q__ So you are purely a middleman of 7 A Soa Jornaya lead ID code is
8 you take somebody else's lead and then sell it? | 8 placed on a generation website that records or
9 A Correct. 9 captures the user experience on that website,
10 Q__ So, can RevPoint generate a 10 and then is in some way linked to a particular
11 Jornaya lead ID to associate it with one of the | 11 ID where that ID can then be utilized to
12 leads that it's selling? 12 recapture the user experience; or viewer
13 A No. 13 recording of the user experience, is my
14 Q If there is a Jornaya lead ID 14 understanding of Jornaya's lead IDs.
15 associated with your -- with a lead that you 15 Q Is it your understanding that an
16 are selling, that would have come with it to 16 IP address on a lead and a Jornaya lead ID
17 you, right correct? 17 should match?
18 A Correct. 18 A That is not my understanding.
19 Q Would you look at the Jornaya 19 Q What is your understanding?
20 subpoena response today, last page, andI can | 20 A So an IP address delivered in an
21 represent to you that the universal lead ID, 21 APA could come from different places, it could
22 also known as a Jornaya lead ID, is the same as | 22 come from the IP address of the servers that
23 on the Quotewizard opt in, but that IP address 23 the platform is utilizing, it could come from
24 on the Quotewizard -- on this Jornaya subpoena | 24 the website of where the lead was generated.
25 response is not the same as on the Quotewizard | 25 There is opportunity there for
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 opt in, correct? 2 IP addresses to not match the user IP address
3 MR. KING: I object. They speak 3 who filled out the form.
4 for themselves but you can answer. 4 Q Then how do you know that a
5 Sorry, I cut you off. 5 particular user visited from a particular IP
6 A Yeah, I can see that. 6 address?
7 Q Do you know why those IP 7 A We would not be able to utilize
8 addresses don't match? 8 an IP address definitively in the lead that is
9 A Ido not know why. 9 captured and then distributed.
10 I would only be able to 10 Q What would you use?
11 speculate. 11 A For what purpose?
12 Q Let's flip back to Exhibit 17. 12 Q To validate the --
13 Do you see the language on TCPA disclosure? | 13 A A particular lead?
14 A Yes. 14 QA particular lead, yes.
15 Q__ Did you provide that information 15 A Well, in most cases we would
16 to Mr. Weeks at Quotewizard? 16 request the user IP address from the generator.
17 A [believe so. 17 Q From the lead generator?
18 Q__ Did you provide it separately or 18 A Correct.
19 was it just within a URL that you provided, on | 19 Q_ And by that, do you mean the
20 a web page that linked through the URL? 20 website on which a lead was created?
21 A I don't recall. 21 A Yes.
22 Q_ And how about the screen shot 22 Q And would that be captured -- is
23 language on Exhibit 17? 23 that supposed to be captured by a Jornaya lead
24 A I don't recall how the 24 ID?
25 information was provided. 25 A I don't know what the

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 requirements are, which Jornaya lead IDs, 2 A I don't know -- I believe so.
3 because from my understanding that is up to the} 3 MR. BRODERICK: Evan, I will just
4 end users, the clients of Jornaya. 4 make note for the record that I think
5 But I don't have any knowledge 5 that those e-mails were responsive to
6 of what the exact information Jornaya captures. | 6 our subpoena and that we request that
7 Q Okay. 7 they be produced.
8 Have you ever seen a Jommaya 8 MR. POLANSKY: Ted, just for the
9 rendering of the user experience in creating a 9 record, I mean these e-mails we marked
10 lead? 10 as work product on our privilege log, we
11 A Lactually don't believe I have. 11 discussed this last time during Matthew
12 Q___ Have you ever given RevPoint's 12 Week's deposition, just for the record.
13 role as a middleman, do you look at TCPA 13 We can discuss it after.
14 disclosure language on whatever website 14 MR. BRODERICK: We can confer
15 something was created? 15 about that, we don't need to bore Mr.
16 A Well, in many cases we are not 16 Fishman any more than we already are.
17 aware of the website in realtime. 17 Qs Have you produced any additional
18 And so we wouldn't be able to -- 18 information to Quotewizard about what you --
19 that would be a very difficult task. 19 about information that was provided to
20 Q ___ Did you terminate your 20 Quotewizard when RevPoint sold them the Mantha
21 relationship with Plural because of this 21 lead?
22 lawsuit? 22 MR. POLANSKY: Objection.
23 A We -- I don't know that we 23 MR. KING: When, do you mean like
24 terminated our relationship, we certainly -- it 24 through our subpoena response?
25 became restricted to say the least. 25 MR. BRODERICK: Not through the
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 I don't know that there was an 2 subpoena response.
3 official termination. 3 Q We got a supplemental production
4 Q But you are no longer accepting 4 recently and I want to know if you were the
5 leads from Plural, correct? 5 source of the information we received last
6 A That is correct. 6 night.
7 Q Have you had -- 7 MR. KING: [ haven't seen it, I
8 MR. BRODERICK: Strike that. 8 know the witness hasn't either.
9 Q_ Can we go back to the RevPoint 9 Q Okay, you didn't provide any
10 subpoena response. 10 information within the last month to
1] MR. BRODERICK: I am going to 11 Quotewizard?
12 mark this, try to mark this as Exhibit 12 A No.
13 19. 13 MR. KING: He's talking to me,
14 (The above described document was | 14 really, so not to my knowledge.
15 marked Exhibit 19 for identification as of | 15 1 don't understand the question, we
16 this date.) 16 haven't made a supplemental production in
17 A I'msorry, what am I looking at? 17 the last month.
18 Q What's now been marked as 18 MR. POLANSKY: No, Quotewizard
19 Exhibit 19 which is the RevPoint subpoena 19 made a supplemental production that
20 response combined, should be in the marked 20 didn't come from RevPoint.
21 exhibits folder? 21 MR. BRODERICK: [| am going to
22 A I've got it, thank you. 22 move a folder into the marked exhibits
23 Q Do youstill have the e-mail 23 which is supplemental production
24 exchange that you had with Matthew Weeks of | 24 7-27-20.
25 Quotewizard? 25 A This is a new folder. I see it.

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Q Supplemental production.
A Okay.

MR. KING: Just a second. Is it
under marked exhibits?

ST nw Whee

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] MICHAEL FISHMAN
2 system when someone buys a lead?
3 A It could be, yes.

4 Q_ And that would be provided on
5 the purchase of the lead by the end user?

Thank you. 6 A Correct, yes, because there is a
MR. BRODERICK: You might need to 7 first name and last name and e-mail and phone.
refresh, everybody let me know when you 8 Q Okay, can you open something
9 have it. 9 that says letter McKew?
10 MR. KING: Got it. 10 A Okay.
11 Q Do you see a document titled 11 Q And it's -- has RevPoint
12 Quotewizard_mantha 000101? 12 provided two separate leads with Joe Mantha's
13 A The PDF, oh, 000101-104? 13 name to Quotewizard?
14 Q Yes. 14 A Notto my knowledge, no.
15 A Yes. 15 Q Just the one lead that we have
16 Q Do you recognize that document? 16 been talking about in this deposition, correct?
17 A Do recognize the document? 17 A Just the one lead, correct.
18 No; I don't recognize the 18 Q_ Okay, can you open the Excel
19 document. 19 spreadsheet there.
20 Q Does the information contained 20 Do you recognize this Excel
21 within the document look familiar? 21 spreadsheet?
22 A It looks familiar, yes. 22 A No.
23 Q_ And what is it? 23 Q You didn't create it?
24 A It looks like -- it looks like 24 A No.
25 the lead information for Mr. Mantha. 25 Q___ Looking at this document, do you
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1 MICHAEL FISHMAN MICHAEL FISHMAN
2 Q Andis this the information that have any idea what quote ID means?
3 is -- well, is this at the point at which you A No.
4 ping the system, or is this when you provide MR. BRODERICK: [am just going
5 the full lead after purchase? to go ahead and introduce these
6 MR. KING: Sorry, objection as to exhibits.
7 form. I introduce the letter as 20, the
8 I think we might be skipping a step Excel spreadsheet, this I have to do
9 here. Did you ask if RevPoint created or differently I guess.
10 provided this document? This just gets moved into the
11 Q Well, the information that's folder, I guess, but it doesn't get a

12 within this document, you did not create this
13 document, correct?

14 This PDF?
15 A Not to my knowledge, no.
16 Q But you say the information

17 looks like the Mantha lead?

18 A From the information that I can

19 decipher, yes.

20 I mean I am looking at his name

21 is in here and his e-mail address.

22 And there are a lot of -- it's

23 sort of a run-on sentence, but is that a

24 printout of what -- is that the type of

25 information that is exchanged by your API

number.
And then the PDF Quotewizard_mantha
I am going to introduce as Exhibit 21.
(The above described document was
marked Exhibit 20 for identification, as
of this date.)
(The above described document was
marked Exhibit 21 for identification, as
of this date.)
21 Q_ Go back to Exhibit 19, the
22 RevPoint subpoena response, the last page of it
23 which is the data that you said you queried
24 your database to get.
25 A Okay.

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2 Q___ Did your database have any 2 SnappyAutolnsurance.com, was that -- when did
3 reference to SnappyAutoInsurance.com? 3 you learn that that was where Plural said the
4 That for some reason didn't get 4 opt-in had come from?
5 put on this sheet of data? 5 A We learned of that when we
6 A No. 6 requested and received opt in information in
7 Q Would you agree that the IP 7 order to verify consent.
8 address on your data sheet is not the same as 8 Q That was after this Complaint by
9 on the Quotewizard opt in? 9 Mr. Mantha, though, correct?
10 A Which two IP addresses am a 10 A To my knowledge, yes.
11 looking at, because I know there was a 11 MR. POLANSKY: Just to be clear,
12 discrepancy in that, but I'm not sure with 12 for the record when you say Complaint,
13 what. 13 are you talking about the actual
14 Q Right, so this one is 14 complaint filed in the lawsuit, or some
15 66.187.107.166 and then we can look at the -- | 15 sort of demand letter, Ted?
16 A The one I have written down? 16 MR. BRODERICK: Really --
17 Q Yes, which you wrote down from 17 MR. POLANSKY: Because I know we
18 the Quotewizard opt in, which is 96. -- 18 had confusion about this earlier in my
19 A Yes, [can confirm that those 19 client's deposition.
20 are not the same. 20 MR. BRODERICK: No, right. No, I
21 Q_ Right. 21 would say when you were first contacted
22 Do you know why they don't 22 with any kind of complaint, even if it
23 match? 23 was just a demand letter, did you look
24 A Ido not. 24 into whether the consent was valid,
25 Q_ Are you aware that Plural 25 correct?
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Marketing Solutions has provided a response to | 2 MR. POLANSKY: Thanks.
3 a subpoena in connection with this case? 3 A Correct, yes.
4 A I did not. 4 Q_ And you see that the date of the
5 Q Have you ever seen that subpoena 5 application provided -- well, by Plural in
6 response? 6 response to our subpoena, is 6/26/2019?
7 A [have not. 7 A Yes,
8 Q___ Lam going to show you that, I 8 Q __ Did they provide that
9 am going to introduce it as Exhibit 22 forease | 9 information to you?
10 of reference. 10 A I don't recall, it's possible.
11 A Okay. 11 Q And this data, I don't see a
12 (The above described document was | 12 Jornaya lead ID in Plural's response to the
13 marked Exhibit 22 for identification, as 13 subpoena.
14 of this date.) 14 Do you know if Plural had a
15 Q__ Iwill ask you to scroll down in 15 Jornaya lead ID associated with Mr. Mantha's --
16 that document to what starts after Exhibit C? 16 Mr. Mantha's supposed lead at the time it was
17 A Okay. 17 created?
18 Q Have you seen any of that 18 A Ican only talk about when that
19 information from any source? 19 lead was offered and then sent into RevPoint
20 MR. BRODERICK: Strike that. 20 Media.
21 Q_ Are you familiar with that 21 At that point there was a
22 e-mail address for Adam Brown? 22 general lead ID associated with 2, so [
23 A No, lam not. 23 can't -- I have no idea how -- what Plural --
24 Q And although Plural lists the 24 how they generate their Jornaya lead IDs.
25 source of the application as 25 Q Do you have any -- I can

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 represent to you that Jornaya says that the 2 Q Do you know if when you clicked
3 lead ID provided by Plural is actually 3 on the link it was active?
4 associated with a website called 4 A I would not have sent a URL to
5 unitedquotes.com. 5 Quotewizard that was not active.
6 Do you have any idea why in its 6 Q_ And--
7 transmission to you they said it was 7 MR. POLANSKY: Strike that.
8 SnappyAutoInsurance.com? 8 Q You personally sent the URL of
9 A Lhave no idea. 9 SnappyAutoInsurance.com to Quotewizard, is that
10 Q___Do you have any idea why the 10 correct?
11 date of application on the Plural subpoena 11 A That is correct.
12 response does not match the date of application | 12 Q_ And that was Matthew Weeks you
13 on the Jornaya lead ID? 13 sent it to?
14 A Ido not. 14 A I'm pretty sure, yes.
15 Q Does RevPoint take any position 15 Q Now, are you aware that you also
16 on whether Mr. Mantha consented to receive 16 sent him an IP address?
17 telemarketing text from Quotewizard? 17 A I'msure.
18 A Well, it's my understanding that 18 Q And you were asked by
19 consent was given, because that data was 19 Mr. Broderick some questions about whether the
20 provided to us. 20 IP address on the Quotewizard opt in sheet that
21 Q___But nobody at RevPoint has any 21 you looked at is the same as the RevPoint
22 personal knowledge as to who it was that 22 response, and you testified that they are
23 supposedly filled out this lead on a website? 23 different, right?
24 A Other than the information we 24 A Yes.
25 received, we have no other knowledge. 25 Q Do you know why they are
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q Okay, thanks. 2 different?
3 MR. BRODERICK: No further 3 A Idon't know why. I can only
4 questions right now. 4 speculate.
5 Thank you very much. 5 Q_ And what's your belief?
6 MR. POLANSKY: Great. 6 MR. BRODERICK: Objection.
7 7 Q = You can answer.
8 EXAMINATIN BY 8 A I can answer that?
9 MR. POLANSKY: 9 MR. BRODERICK: Yes.
10 10 MR. POLANSKY: Yes.
11 Q_ Mr. Fishman, once again, I am 11 A __ So, my belief is that, and this
12 Kevin Polansky, I represent the Defendant 12 happens with some regularity in the space, is
13 Quotewizard in this case. 13 that IP addresses come from the platforms that
14 I do have a couple of follow-up 14 are supplying the API data and not from the
15 questions. 15 user, and systems are not verifying the IP
16 This won't take very long, but I 16 address other than potentially if it's
17 do want to go through a few things. 17 international.
18 A Sure. 18 MR. BRODERICK: Objection, move
19 Q Have you ever personally went to 19 to strike.
20 the SnappyAutolnsurance website? 20 Q_ The IP address identified in the
21 A [don't know whether I clicked 21 RevPoint response, was that IP address provided
22 on that link when it was provided by Plural. 22 by Plural?
23 Possibly -- I probably did, but 23 A We would -- anything that we
24 I don't recall, I probably made sure that it 24 provided would have been provided by Plural.
25 was active before I sent it. 25 Either in the original data that

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1 MICHAEL FISHMAN ] MICHAEL FISHMAN
2 was sent over, or in a subsequent request. 2 A I don't know.
3 Q Do you still have the Plural 3 Within the original lead, I
4 response to the Mantha subpoena in front of 4 don't think we accept in the API multiple IP
5 you? 5 addresses, so that would not be possible.
6 MR. BRODERICK: Exhibit 22. 6 But | don't know -- anything we
7 A Yes, I do. 7 provided they provided, so if they provided a
8 Q On I believe it's page 15 of 20, 8 different IP address, we certainly would have
9 there is a document and at the top it says 9 been provided multiple IP addresses.
10 “original source lead generator." 10 Q Who created this document in
1] Do you see that? 11 front of you at Exhibit 19?
12 A No, I'm sorry, let me catch up 12 MR. KING: Sorry, is Exhibit 19
13 to where were you saying. 13 RevPoint's response?
14 Q Page 15 of 20. 14 Q_ Yes, page 10?
15 A 15, okay. 15 MR. KING: The subpoena response
16 Q__ And do you see a Word document 16 obviously would have been created by me.
17 with two bolded sections called original source | 17 MR. POLANSKY: I guess my
18 lead generator and applicant TCPA audit? 18 question is on the last page, do you
19 A No, hold on, I think I'm in the 19 know why the Jornaya lead ID is not
20 wrong place. Exhibit C is this? 20 identified on this page.
21 Q_ Yes, right after Exhibit C or I 21 A That I don't know.
22 guess it is Exhibit C, yes. 22 Q___ Do you dispute that you
23 A And this is the lead data? 23 provided --
24 Q_ Yes. 24 MR. BRODERICK: Strike that.
25 A Okay; okay. 25 Q___— Do you dispute that RevPoint
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q Do you see where they identify 2 provided a lead ID to Quotewizard?
3 the applicant IP address? 3 A No, I don't ski.
4 A Yes. 4 Q In fact Quotewizard required a
5 Q_ And that's different from the IP 5 Jornaya lead ID, is that right?
6 address that RevPoint provided in response to 6 A That's right. I don't recall
7 its subpoena, right? 7 the API requirements, it's certainly possible
8 A Again, I don't have the two in 8 and not uncommon to have that as a requirement.
9 front of me to make that comparison, because 9 Q__Inthis case you don't dispute
10 that one looks like the one I have written 10 that a Jornaya lead ID was provided from
11 down, but I don't have the -- what we provided 11 RevPoint to Quotewizard?
12 in front of me. 12 A No, I do not dispute that.
13 Q Okay, let's take a look at it, 13 Q Just turning back to Exhibit 17.
14 its Exhibit 19, 14 A Okay.
15 A Okay. 15 Q Do you dispute any of the
16 Q [think it the last page. 16 information on this exhibit was provided by
17 Would you agree that the IP 17 RevPoint to Quotewizard?
18 addresses don't match? 18 MR. BRODERICK: Objection to the
19 A Correct, they do not match. 19 form.
20 Q Do you know whether Plural 20 A Ican't say one way or the
21 provided RevPoint with more than one IP address 21 other, I don't recall.
22 for this lead? 22 Q Okay.
23 A Within the original lead? 23 But you do recall that RevPoint
24 QI guess within the original 24 provided an IP address to Quotewizard, right?
25 lead, or at any time. 25 A That's correct.

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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q Anda Jornaya lead ID was also 2 pages and tell me if you see any consent
3 provided by RevPoint to Quotewizard, is that 3 language?
4 right? 4 A I do not see any consent
5 A Within the original lead, 5 language.
6 correct. 6 Q_ Do you recall after receiving, I
7 Q And that at some point in time 7 know Mr. Broderick used the term complaint, but
8 you did provide a URL to SnappyAutoInsurance to 8 after Mr. Weeks informed you of a demand
9 Quotewizard, right? 9 received by Quotewizard from the Plaintiff in
10 A Correct. 10 this case, that he reached out to you for
11 Q And then the other information 11 consent language?
12 is sort of the data that would come with the 12 A I don't know that I reached out
13 lead packet, is that right? 13 specifically for consent language, but reached
14 MR. BRODERICK: Objection. 14 out for verification of consent.
15 A _ That's my understanding. 15 Q Okay, but he did reach out by
16 I don't know if I provided this 16 e-mail to you for verification of consent with
17 screenshot or that was generated, | don't know. 17 respect to Mr. Mantha, is that right?
18 Q But in any event, you would have 18 A Matthew Weeks, right?
19 advised or -- 19 Q_ Yes, yes.
20 MR. BRODERICK: Strike that. 20 A Yes, he did.
21 Q _ Inany event, you would have 21 Q_ And you provided the information
22 informed Quotewizard where to find or obtain 22 that you had received from Plural Marketing, is
23 the consent language? 23 that right?
24 MR. BRODERICK: Objection. 24 A Correct.
25 A I don't recall. 25 Q_ And turning again to Exhibit 17,
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1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 Q Well, do you know whether 2 do you have any reason to dispute the TCPA
3 RevPoint in the lead provided consent language | 3 disclosure that's on this document as being
4 to Quotewizard? 4 provided by you to Mr. Weeks?
5 A We would have provided consent 5 A No, Ihave no reason to dispute.
6 language within the lead. 6 MR. POLANSKY: That might be all
7 MR. BRODERICK: Objection to the | 7 Ihave, but I would like to check my
8 form. 8 notes real quickly.
9 Q You would have? 9 Just give me a moment.
10 A __ It's my understanding that 10 THE WITNESS: Sure.
11 consent language came with the lead. 11 Q When you reached out after
12 Q What type of consent language 12 hearing from Matthew Weeks to verify the
13 comes with the lead? 13 consent for Mr. Mantha did you personally reach
14 A Whatever is provided by the 14 out to George Rios or did someone from your
15 lead, so whatever Plural sent us we would have | 15 team or company?
16 sent to Quotewizard. 16 A Someone from my team.
17 Q So I'm going to turn your 17 Q Do you know who that individual
18 attention to Exhibit 21 that you just looked 18 is?
19 at. 19 A Yes, that was Jesse Schreiber.
20 A Okay. 20 Q Is Jesse a man or woman?
21 Q_ And I'm going to represent to 21 A Aman.
22 you that this was the electronic information 22 Q And how do you spell Schreiber?
23 that came from RevPoint to Quotewizard after | 23 A  S-c-h-r-e-i-b-e-r,
24 the lead was purchased. 24 Q_ Okay.
25 Can you go through these four 25 QI think you mentioned it was

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1 MICHAEL FISHMAN ! MICHAEL FISHMAN
2 either by Skype or e-mail, is that right? 3
: 4
3 A Correct, or possibly a blend, I ; 1 the undersigned, a Certified
4 don't know. Shorthand Reporter of the State of New
5 MR. BRODERICK: Possibly a what? © — Yor6,to Bersby cert: nos w
hat the foregoing proceedings were
6 A A blend of the two, maybe 7 taken before me at the time and place
7 reaching out on Skype and shooting an e-mail. | , the forcavine proveedings price ta "
8 Q Do you know if Plural Marketing testifying, were duly swom; that a record
2 * ‘ 9 of the proceedings was made by me using
9 18 associated with the website machine shorthand which was thereafter
10 unitedquotes.com? 10 transcribed under my direction;
11 A Idon't know. I could only . eee
12 speculate. Further, that if the foregoing
P ; 12 pertains to the original transcript of a
13 Q Have you ever heard of the deposition dia fedeial case bebite
14 website called Snappy Surveys? 13 completion of the proceedings, review of
15 A I have not the a [ ] was [x | was not
4 14 requested.
16 Q Have you ever heard of Justin 15 : ie ae aussie
17 Cohen, I think you might have answered that? | 46 —_jelative or employee of any attorney oF
18 A No, I don't know that name. s ee ee aces sia
19 Q_ And Adam Brown? Wg eee ee
tn esd
20 A Nope. 18 Cf Agee h
19 “Fh ae
21 Q When you went to the 20 Z, Ms Fi —
22 SnappyAutoInsurance website to confirm that it | 2! ,
. . Stephen J. Moore
23 was working, did you happen to take any 2 RPR,CRR
24 screenshots or images from that website at the | > Dated: 8/11/2020
25 time? 25
Page 67 Page 69
1 MICHAEL FISHMAN 1 MICHAEL FISHMAN
2 A No. 2 DECLARATION UNDER PENALTY OF PERJURY
3 Q_ When you went on the 3 Case Name: MANTHA v. QUOTEWIZARD
4 SnappyAutoInsurance website, did you go on the 4 Date of Deposition: July 28,
5 website to confirm there was TCPA compliance | 5 2020
6 language on the website? 6
7 A I don't recall what I did when I 7 I, MICHAEL FISHMAN, hereby certify
8 went on that website. 8 Under penalty of perjury under the
9 MR. POLANSKY: [have no further | 9 laws of the State of New York that the
10 questions. 10 foregoing is true and correct.
11 Thank you very much for your time. / 11 Executed this day of
12 MR. BRODERICK: Nothing further | 12 2020, at
13 from me. 13
14 Thanks very much, Mr. Fishman. 14
15 THE WITNESS: This concludes 15
16 today's testimony given by Michael 16
17 Fishman, total number of media units is 17
18 1 and will be retained by Veritext. 18 MICHAEL FISHMAN
19 The time is approximately 1:59 p.m. | 19
20 We are off the record. 20
21 21
22 22
23 23
24 24
25 25

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1 MICHAEL FISHMAN
2 DEPOSITION ERRATA SHEET
3 Case Name: MANTHA v. QUOTEWLZARD
4 Name of Witness: MICHAEL FISHMAN
5 Date of Deposition: July 28,
6 2020
7 Reason Codes: 1. To clarify the
8 record.
9 2. To conform to the facts.
10 3. To correct transcription errors.
11 Page Line Reason
From to
12 Page Line Reason
From to
13 Page Line Reason
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14 Page Line Reason
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16 Page Line Reason
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Page 71
1 MICHAEL FISHMAN
2 DEPOSITION ERRATA SHEET
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From to
17 Subject to the above
18 changes, I certify that the transcript is
19 true and correct
20 No changes have been
21 made. | certify that the transcript is
22 true and correct.
33
24
25 MICHAEL FISHMAN
19 (Pages 70 - 71)
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